                 Case 2:12-cr-00048-GEB Document 67 Filed 07/31/13 Page 1 of 4


     The Law Office of Olaf W. Hedberg
 1   Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
 2   Sacramento, California 95814
     (916) 447-1192 office
 3   1-412-774-3537 fax
     o.hedberg@sbcglobal.net
 4

 5

 6

 7

 8

 9        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                             CALIFORNIA

11
                                                       Case Number: 2:12-CR-0048 TLN
12   THE UNITED STAES OF AMERICA
                                                       STIPULATION AND ORDER FOR
13   V.                                                CONTINUANCE OF STATUS
                                                       CONFERENCE
14   PAVEL YAKIMENKO, et al.

15                                                     DATE: 8/1/2013
                                                       TIME: 9:30 a.m.
16                                                     JUDGE: Hon. Troy N. Nunley
17

18

19

20          Plaintiff United States of America, by and through its counsel of record, and the
21   defendants, by and through each counsel of record, hereby stipulate as follows:
22          1.       By this stipulation, the defendants now move to continue the status conference
23   until September 26, 2013, at 9:30 a.m., and to exclude time between August 1, 2013, and
24   September 26, 2013, under Local Code T4. Plaintiff does not oppose this request.
25
            2.       The parties agree and stipulate, and request that the Court find the following:

                                                       1
                 Case 2:12-cr-00048-GEB Document 67 Filed 07/31/13 Page 2 of 4



 1          a.       The government has represented that the discovery associated with this case

 2   includes approximately 6,500 pages of investigative reports and related documents in electronic

 3   form. All of this discovery has been either produced directly to counsel and/or made available for
 4   inspection and copying.
 5          b.       Counsel for the defendants desire additional time to consult with their respective
 6   clients, to review the current charges, to conduct investigation and research related to the
 7   charges, to review and copy discovery for this matter, to discuss potential resolutions with their
 8   clients, to prepare pretrial motions, and to otherwise prepare for trial.
 9
            c.       Counsel for the defendants believe that failure to grant the above-requested
10
     continuance would deny them the reasonable time necessary for effective preparation, taking into
11
     account the exercise of due diligence.
12
            d.       The government does not object to the continuance.
13
            e.       Based on the above-stated findings, the ends of justice served by continuing the
14
     case as requested outweigh the interest of the public and the defendants in a trial within the
15
     original date prescribed by the Speedy Trial Act.
16
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
17
     et seq., within which trial must commence, the time period of August 1, 2013, to September 26,
18
     2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
19
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
20
     of the Court's finding that the ends of justice served by taking such action outweigh the best
21
     interest of the public and the defendants in a speedy trial.
22
            4.       Nothing in this stipulation and order shall preclude a finding that other provisions
23
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
24
     which a trial must commence.
25


                                                       2
              Case 2:12-cr-00048-GEB Document 67 Filed 07/31/13 Page 3 of 4



 1

 2   IT IS SO STIPULATED

 3   Respectfully submitted July 30, 2013
 4   /s/ Olaf W. Hedberg
     Olaf W. Hedberg
 5
     Attorney for Pavel Yakimenko
 6
     /s/David Fischer
 7    David Fischer
     Attorney for Nikolay Yakimenko
 8
     /s/Stanley Kubochi
 9    Stanley Kubochi
     Attorney for Yuriy Kaltachi
10
     /s/Timothy Zindel
11
     Timothy Zindel
12
     Attorney for Svetlana Kramarenko

13   /s/ Michele Beckwith
      Michele Beckwith
14   Assistant United States Attorney

15

16

17

18

19

20

21

22

23

24

25


                                            3
               Case 2:12-cr-00048-GEB Document 67 Filed 07/31/13 Page 4 of 4


                                                  ORDER
 1

 2
            GOOD CAUSE APPEARING, it is hereby ordered that the August 1, 2013status
 3   conference be continued to September 26, 2013 at 9:30 a.m. I find that the ends of justice
 4   warrant an exclusion of time and that the defendant’s need for continuity of counsel and
     reasonable time for effective preparation exceeds the public interest in a trial within 70 days.
 5
     THEREFOR IT IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
 6
     (h) (7) (B) (ii) and Local Code T4 from the date of this order to September 26, 2013.
 7   IT IS SO ORDERED.
 8

 9   Dated: July 31, 2013
10

11

12                                                           Troy L. Nunley
                                                             United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25


                                                      4
